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 Fill in this information to identify your case:

 Debtor 1                  Jonathan D. Grayson
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name

 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF ILLINOIS

 Case number            17-31843
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral What do you intend to do with the property that    Did you claim the property
                                                              secures a debt?                                    as exempt on Schedule C?


    Creditor's         Ally Bank                                            Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of        2016 Chrysler 200 23,000 miles                    Reaffirmation Agreement.
    property              joint with spouse                                 Retain the property and [explain]:
    securing debt:



    Creditor's         Ally Bank                                            Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of 2015 Jeep Cherokee 56,000                                Reaffirmation Agreement.
    property       miles                                                    Retain the property and [explain]:
    securing debt: joint with spouse



    Creditor's         Flagstar Bank/Nationstar Mortgage                    Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of        1321 Cody Drive Waterloo, IL                      Reaffirmation Agreement.
                          62298 Monroe County


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    property            4 bedrooms, 2.5 baths - joint with                 Retain the property and [explain]:
    securing debt:      spouse


    Creditor's     Homeplus Finance                                        Surrender the property.                                     No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a                        Yes
    Description of      1321 Cody Drive Waterloo, IL                       Reaffirmation Agreement.
    property            62298 Monroe County                                Retain the property and [explain]:
    securing debt:      4 bedrooms, 2.5 baths - joint with
                        spouse


    Creditor's     Kay Jewelers/Sterling Jewelers, Inc                     Surrender the property.                                     No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a                        Yes
    Description of      Ring (encumbered) - joint with                     Reaffirmation Agreement.
    property            spouse                                             Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Part 3:     Sign Below



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 Debtor 1      Jonathan D. Grayson                                                                  Case number (if known)   17-31843

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Jonathan D. Grayson                                                     X
       Jonathan D. Grayson                                                             Signature of Debtor 2
       Signature of Debtor 1

       Date        December 12, 2018                                               Date




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